Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 1 of 47

 

 

 

 

 

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Roland J. Daza-Cortez, ) i AES At caro N
Petitioner, BY WESTERN DEPUTY DEPUTY
)
Vv. Case No. Criminal 2:15-cr-269-RAJ
) Civil 2: 18-cv-1608-RAJ

UNITED STATES OF AMERICA,
Respondent, )

 

PETITIONER'S RESPONSE TO GOVERNMENT'S RESPONSE
TO §2255 MOTION UNDER 28 U.S.C. §2255

COMES NOW, Roland Daza-Cortez, the Movant, pro se, and respectfully files this
memorandum brief in support of his Motion to Vacate, Set Aside, or Correct sentence,
pursuant to Federal Rules governing §2255 proceedings. Petitioner prays that this
Honorable Court construe his pleading in the nature of Haines v Kerner, 404 U.S. 519,
521 (1972), as he is not a lawyer, trained in law, or versed in law.

Movant was granted a stay of the proceedings by this court until August 1, 2019,
due to his being transferred to another institution. Therefore, his response is to be

considered timely filed. see also Tatum v. Christensen, 786 F. 2d 959, 963 n. 4 (9th

 

Cir. 1985).
JURISDICTION
This Honorable has maintained original jurisdiction of the above criminal and
civil cases.
BRIEF HISTORY
Petitioner, along with two others, were charged and indicted on August 6, 2015
with Conspiracy to Distribute Controlled Substances. (CR Dkt #1). After being
arrested and arraigned on August 12, 2015, the Grand Jury returned a Superceding
Indictment adding eight (8) additional counts and forfeiture allegations on
January 7, 2016. These included felony counts of possession with Intent to Distribute
Methamphedamine and Heroin (Count 2), Possession of a Firearm in furtherance of a

Drug Trafficking Crime (Counts 3 & 4), Possession of Stolen Firearms (Count 5), and

 
Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 2 of 47

3 Counts of Money Laundering (Counts 6-9).see (CR Dokt. 47). The arraignment for these
new counts January 21, 2016. Petitioner's minimum sentence exposure was now a mini-
mum of 180 months in Federal Prison. see Title 18 U.S.C. §924(c) and Title 21 U.S.C.
§841 (b)(1) (A).

On August 12, 2015, at his initial appearance, Petitioner (then defendant) was
appionted Robert Goldsmith, who was soon replaced by retained counsel Peter Mazzone
August 25, 2015. Trial was rescheduled from October to April of 2017. After issues
with counsel, he was substituted with Bryan Harshman uatil Emily Gause was retained.
Mrs. Gause continuances August 2016, then December 2016, January 2017, and March 20,
2017. In February 2017 several pre-trial motions were filed by Petitioner's counsel,
all of which were dismissed. See CR. Dkt.(105-114 and 166-168). On March 13, 2017
Petitioner entered into a guilty Plea, based on the advice of counsel, before U.S.
Magistrate Judge Mary A. Thiler. (CR. Dkt. 117).

On October 29, 2018 Petitioner filed his Motion to Vacate, Set aside, or Correct
a Sentence under 28 U.S.C. §2255, which was docketed November 2, 2018. The Government
filed their response in opposition December 28, 2018. (CV. Dkt. 5). Petitioner's
reply was filed January 14, 2019. After being notified of being transferred to
another institution, Petitioner requested a Stay of the proceedings until, which the
court granted until August 1, 2019 and the Government agreed. Petitioner also notified.
the court that the filed Petition was intended to be a "place holder" for subsequent
filings.

INEFFECTIVE ASSISTANCE OF COUNSEL
A. Standard

The Sixth Amendment to the Constitution guarantees the effective assistance of
counsel. To establish ineffective assistance of counsel, a Petitioner must demonstrate
both that: (1) counsel's performance was deficient; and (2) the deficient performance

prejudiced his defense. See Strickland v. Washington, 466 U.S. 668, 686, 104 S.Ct.

 

2052, 80 L. Ed 2d 674 (1984); See also Knowles v. Mirzayance, 556 U.S. lll, 124, 129

 

2.

 
Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 3 of 47

S.Ct. 1, 157 L. Ed 2d 1 2003).

1. The first prong of the Strickland test, deficient performance, requires
the showing that counsel's performance, in light of all the circumstances, was
“outside the wide range of professionally competent assistance.". Strickland, 466 U.S.
at 690. Outside of the distorting effects of hind sight and evaluating counsel's
conduct at that time, judicial scrutiny of counsel's performance must be highly
differential. Though there is a "strong presumption that counsel's conduct falls
within the wide range of reasonable professional assistance.". Strickland, 466 U.S._
at 689. A habeas petitioner bears the burden to show that "counsel made errors so
serious that counsel was not functioning as the counsel guaranteed the defendant by
the Sixth Amendment. See Richter, 131 S.Ct. at 787 (citation and internal quotations
omitted).

2. The second prong, prejudice, requires that Petitioner shows a reasonable
probability that, but for counsel's unprofessional errors, the result of the proceed—
ings would have been different. Strickland, 466 U.S. at 694. Said reasonable probabi-

lity is probability "sufficient to undermine the confidence in the outcome." Id.,;

 

See also Woodford v. Visciotti, 537 U.S. 19, 22, 123 S. Ct. 357, 154 L. Ed 2d 279
(2002). |

Although a court may conclude that a single error rendered counsel's performance
ineffective, it must consider the totality of the circumstances in making it's
determination. Murray v. Carrier, 477 U.S. 479 (1986); Strickland v. Washington,
supra, at page 690. A court that finds that a defendant has failed to satisfy one
prong of the Strickland test, need not consider the other. Below, Petitioner intends
to show that his counsel was ineffective and that ineffectiveness did prejudice his
case by rendering his plea involuntary, unknowingly and’ unwillingly entered, thereby
rendering the plea null and void. This circuit's general rule is that ineffectiveness
of counsel claims "usually ... cannot be advanced without the development of facts

outside the original record.". United States v. Birgos, 723 F. 2d 666, 670 (9th Cir.

 

3.

 
Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 4 of 47

1984). Clearly, a challenge to ineffectiveness is by way of habeas corpus proceedings
to provide the defendant a way to develop a record of what counsel did, why, and if
prejudice resulted.

B. FAILURE TO INVESTIGATE

A defense counsel has a “duty to make reasonable investigations or to make a
reasonable decisions that makes particular investigations unnecessary.". Strickland,

. 466 U.S. at 691; Wiggins v. Smith, 539 U.S. at 521. This includes a duty to investi-
gate the Prosecution's case and to follow up on any exculpatory evidence. Kimmelman v.
Morrison, 477 U.S at 384-85; See also Bragg v. Galaza, 242 F. 3d 1082, 1088-89 (9th
Cir.) (defense counsel's duties include "a duty to investigate the defendant's ‘most
important defense’, and a duty adequately to investigate and introduce into evidence
records that demonstrate factual innocence, or that raise sufficient doubt on that
question to undermine confidence in the verdict." (citations omitted) as amended, 253
F. 3d 1150 (2001).

The performance of counsel is deficient if conditions exists that might show a
defendant's innocence or raise sufficient doubt to undermine confidence in a guilty
verdict, and counsel did not investigate the evidence. Riley v. Payne, 352 F. 3d
1313, 1318 (9th Cir. 2003). To show prejudice the Petitioner must demonstrate that
further investigation would have revealed favorable evidence. Ceja v. Stewart. 97
F. 3d 1246, 1255 (9th Cir. 1996) (full citation omitted). Moreover, “ineffective
assistance claims based on a duty to investigate must be considered in light of the
strength of the government's case", Bragg v. Galaza, 242 F. 3d at 1088 (citation
omitted).

This court has held that "The failure to investigate is especially egregious
when a defense attorney fails to consider potentially exculpatory evidence". Rios v.
Rocha, 299 F. 3d 796, 805 (9th Cir. 2002). Failure to present this evidence at trial,
(or in the instant case prior to plea) also falls below the applicable standard of

reasonable conduct. See Duncan, 528 F. 3d at 1234; see also Lord v. Wood, 184 F. 3d

4.
Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 5 of 47

1083, 1095-96 (9th Cir. 1999).

1. According to the Attorney-Client Work product done by Mr. Greg Walsh (Ex 1)
and the record (Doc. #125, Governments Response to Defendant's Motion to dismiss),
the main vehicle in question, a 2007 Toyota Scion, was registered to Christe Ann
Schamp from $730-1Y to and during the alleged criminal conduct. Prior to her it
belonged to the CI. The Scion was not "sold" to defendant until 10-19-2015, after his
arrest and the finding of drugs and guns within.In order to prove constructive |
possession of property, the government must demonstrate that the defendant both
knows of the presence of the contraband and has power to exercise dominion and control

over it. Williams v. United States 418 F. 2d 159. 162 (9th Cir. 1969). A more diffi-

 

cult situation for the government is when the primises are shared by more than one
person. Mere proximity to contraband, presence on property where it is found, and
association with a person or persons having control over it are all insufficient to

establish constructive possession, United States v. Valenzuela, 596 F. 2d 824, 830-31

 

(9th Cir. 1979). In united States v. Soto, 779 F. 2d 558 (9th Cir. 1986), the court

 

held that "mere proximity of a weapon to a passenger in a cer goes only to it's
accessibility, not to the dominion or control which must be proven to establish
possession". Id. at 560. Therefore the Government cannot prove that Petitioner was
in possession of any of the guns or drugs in this case. The defendant was not owner,
driver or otherwise in possession/ constructive possession at any time during this
investigation. It is fact that counsel failed to demonstrate this so that it would
be part of the record to show factual innocence.

2. Counsel also failed to investigate the tax records , expense accounts,i the
inventories, purchace, sale, deposit slips, transfers of funds, etc., of Avacados
Resturant. In doing so, counsel would have documentation of the legitemacy of the
business and it's legal transactions. The forfeiture would not have been able to
proceed.

3. The Government also stated that there was a finger print on the bags of

5.

 
Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 6 of 47

drugs. Yet counsel failed to investigate further to introduce evidence, which would
have shown that the defendant's prints were not present and therefore the drugs

could not be attributed to him. (Ex. 2). In Doc. #108-4, pg 11, Ln. 26-28 (Affidavit
of Cory Williams), it is noted that the CS "was not paid by Daza-Cortez for any of

the six controlled drug transactions.". If there is no money, there is no transaction:
and therefore no crime.

4. Counsel also failed to provide defendant, her client, with discovery as she
was still in the process of receiving it. In contacts, via email, counsel made
consistant requests for discovery, (Ex. 3), from the United States District Attorney's
Office. In open counsel also requested more time, which the court denied (see
Evidentiary Hearing, held March 10, 2017- pg. 326, Ln. 23: to pg. 327, Ln. 20). There
counsel pleaded with the court for a continuance, stating she was "not ready".
Counsel filed motions, but the deadline for filing was February 6, 2017. Counsel's
Motion for Admissibility of Rule 404 Evidence was not filed until February 7, 2015.

5. Counsel also failed to raise the claim of speedy trial rights violation by
previous counsel when requested by client. The Sixth Amendment guarantees that "in
all criminal prosecutions, the accused shall enjoy the right to a speedy ... trial.".
Such a right is fundamental and exists not just to ensure "that all accused persons
be treated according to decent and fair procedures", Barker v. Wingo, 407 U.S. 514,
519, 33 L. Ed 2d 101, 92 S. Ct. 2182 (1972), but also because "there is a societal
interest in providing a speedy trial which exists separate from, and at times in
opposition to, the interest of the accused.". Id. at 519. See also 18 U.S.C. § 3173.

Article III of the Interstate Agreement on Detainers Act (IAD) incorporates
within, several prerequisites of the speedy trial provisions that must be met by a
prisoner to invoke these provisions. In short, a prisoner must be brought to trial
within 180 days or a request for final disposition may be made of the indictment,
information or complaint. See 18 U.S.C. App. III, Art. III(a). For former counsel to
waive such a right without conferring with the defendant, and counsel at plea to

6.

 
Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 7 of 47

fail to investigate it, deprives that defendant of a timely trial right.

In sum, these lapses constitute a clear violation of counsel's “duty to ‘conduct
a thorough investigation of the defendant's background' in order to discover all
relevant mitigating evidence.". Robinson v. Schriro, 595 F. 3d 1086, 1108 (9th Cir.
2000) (quoting Correll, supra, 539 F. 3d at 942 and Williams, supra 529 U.S. at
396). See also Wiggins, 539 U.S. at 524-25 (Its prema facie ineffective assistance
for counsel to “abandon their investigation of [the] Petitioner's background after
having acquired only a rudimentary knowledge of his history from a narrow set of
sources.". In the instant case this source is the prosecution and not the hired
investigator.

In assessing prejudice, the court must "compare the evidence that actually
was presented to the jury with evidence that might have been presented had counsel
acted differently," . Bonin v. Calderon, 59 F. 3d 815. 834 (9th Cir. 1995). In
short, is evidence not presented sufficient to “undermine confidence t the outcome

of the. proceedings,". Lambright v. Schiriro, 490 F. 3d 1103, 1121 (9th Cir. 2007)

 

(quoting Strickland, 466 U.S. at 694). Had counsel uncovered and presented the

extensive evidence of Petitioner's legal businesses, the difference in the vehicles

finger print evidence (or lack thereof), the illegal search of the wrong property,

no waiver of speedy trial, etc., there is a reasonable probability, a.probability

sufficient to undermine the comfidence in the plea, verdict, and sentence that at

least one juror would have opted for a not guilty verdict had defendant went to trial.
"A defense lawyer must make reasonable investigations in the course of represen—

tation ... counsel's investigation must, at a minimum. permit informed decisions

about how best to represent the client.". Cox v. Ayers, 588 F. 3d 1038, 1045--46

(9th Cir. 2009) (citing Sanders v. Ratelle, 21 F. 3d 1446, 1457 (9th Cir. 1994)).

Within, the court cited two duties that must be distinguished between. They were

the duty of counsel to investigate relevent defenses and to reasonably select and

present a defense. Therefore, it is incumbent upon this court to consider the

7.

 
Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 8 of 47

reasonableness of counsel's investigation. "In any ineffectiveness case, a particular
decision not to investigate must be directly assessed for reasonableness in all
the the circumstances, applying a heavy measure of difference to counsel's judg-
ments.". Strickland, 466 U.S. at 691. The court should "evaluate whether the differ-
ence between what was presented and what could have been presented is significant
to ‘undermine confidence in the outcome' of the proceedings". Lambright v. Schririo,
490 F. 2d 1109, 1121 (9th Cir. 2007). To do so the court is required to “evaluate
the totality of the available mitigating evidence, both that adduced at trial, and
the evidence adduced in the habeas proceeding" and " reweigh [] it against the evidence
in aggrivation.". Williams v. Taylor, 529 U.S. 362, 397-98, 120 S. Ct 1495, 146
L. Ed 2d 389 (2000). This court has also held that "prejudice is established if
"there is a reasonable probability that at least one juror would have struck a
different balance! between life and death" Belmontes v. Ayers, 529 F. 3d 834, 863
(9th Cir. 2008).
C. PLEA BASED ON ERRONEOUS ADVICE OF COUNSEL

Under Federal law, to be valid, a guilty plea must be knowingly, voluntary,

and intelligent. United stated v. Brady, 397 U.S 742, 748, 90 S. Ct..1463 25 L.

 

Ed 2d 746 (1970). Also, guilty pleas must represent a voluntary and intelligent
choice among alternative courses of action open to a defendant. Hill v. Lockhart,
474 U.S. 52, 56, 106 S. Ct. 366, 88 L. Ed 2d 203 (1985). Therefore, as here, a
defendant has more than one option and erroneous advice taints that free choice. A
previous plea offer for less time was not presented by counsel. The plea deal,
contract, must be nullified, the plea withdrawn, and he be placed back in his prior
position.

A defendant who pleads guilty in reliance on his or her attorney's “oross
mischaracterization of the likely outcome" of his or her case may be entitled to
withdraw the plea on ineffective assistance of counsel. Taea v. Sunn, 800 F. 2d

864, 865 (9th Cir. 1994). Also a guilty plea cannot be “induced by ...

8.

 
Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 9 of 47

misrepresentation". United States v. Signori, 844 F. 2d 635, 638 (9th Cir. 1988)

 

(quoting Brady v. United States, 397 U.S. 742).

 

The guarantee of the Sixth Amendment applies when defendant facing charges is
offered a plea. See Padilla v. Kentucky, 559 U.S. 356, 364, 130 S. Ct. 1473, 176
L. Ed 2d 284 (2010). The effective assistance of counsel, prior to deciding whether
or not to plead guilty is the right of a defendant.

1. Counsel was presented with an offer of 5 year minimum sentence, (Ex. 3) via
email dated 1-25-17 from U.S. Attorney Sarah Vgel. The defendant was not informed
of such offer as opposed to the instant plea received, (Doc. 171), where the sentence
was a much longer sentence with additional charges.

2. Defendant was not properly informed that he would be waiving all rights to
appeal, other than ineffective assistance, until he signed it. He felt bullied into
signing under duress as the Government threatened to keep the resturant and request
more time in prison for each day the plea was not accepted.

This court has held on several occasions that when a prisoner's allegations
of a coersed plea are based on alleged occurrences outside the record, an evidentiary
hearing is required. Mayes v. Pickett, 537 F. 2d 1080, 1083 (9th Cir. 1976) cert.
denied, 431 U.S. 924, 53 L. Ed 2d 238, 97 S. Ct. 2198 (1977). There the court held
that even an exemplary Rule 11 record was inadequate to determine the appellant's
claims of involuntariness where he asserted that his attorney made promises regarding
his sentence. Mayes, 537 F. 2d at 1084.

This court has also held that a right to effective assistance of counsel
applies to all "critical stages of the criminal preceedings.". Montejo v. Lousiana,
556 U.S 778. 786, 129 S. C.t 2079, 173 L. Ed 23 955 (2009) ( internal quotation
marks omitted). That is not only "the entry of a guilty plea," but also "arraignments,
postindictment interrogatories, [137 S. Ct. 1972] [and] postindictment lineups.".
Frey, supra, at 140, 132 S. Ct. 1399 182 L. Ed 2d 379 (citing cases). In Missouri v.
Frye, 566 U.S. 134, 132 S. Ct. 1399, 183 L. Ed 2d 379 (2012), the court extended

9.
Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 10 of 47

Hill to hold that counsel could be constitutionally ineffective for failing to
communicate a plea deal to a defendant. Theat defendant would have accepted the
earlier plea offer, along with a "reasonable probability that the end result of

the process would have been more favorable by reason of a plea to a lesser charge

or a sentence of less time.". Id. at 147. The court stated that "defense counsel

has the duty to communicate formal plea offers from the prosecution to accept a

plea on terms and conditions that may be favorable to the accused." The Ninth
Circuit has also held that a defendant is also "entitled to the effective assistznce

of counsel in his decision whether and wher to plead guilty." United States v. Leonti.

 

326 F. 3d 1111, 1117 (9th Cir. 2003).

The erroneous and faulty legal advice rendered the guilty plea and the waiver
of the right to appeal and collateral attack the conviction or sentence pursuant to
28 U.S.C. §2255 motion, not voluntary or intelligently entered. See Tollet Ve
Henderson, 411 U.S. 258, 93 S Ct. 1602, 36 L. Ed 2d 235 (1973) (A criminal defendant
can only attack the voluntary and intelligent character of guilty plea based on

the advice of counsel); United States v. Rumery, 698 F. 2d 764. 766 (Sth Cir. 1983)

 

(counsel induced defendant's guilty plea based on the errcneous advice which
renders the guilty plea involuntary and unintelligently entered and constitutes
ineffective assistance of counsel). The instant plea must not be allowed to stand
as it was based on the ill advice of his counsel. Therefore it is involuntarily
entered and should b withdrawn.
D. ABANDONMENT OF COUNSEL AT CRITICAL STAGES

Petitioner acquired the assistance of Emily Gause. via contract, located at
1001 Fourth Avenue, Suite 4400, in Seattle, Washington 98154. (Ex. 4) The portion
listed as Sec. 1 (Scope of Representation) the services include: "all investigation
up to trial including representation at pretrial hearings and if necessary, sentenc -
ing". On page 2, Sec. 2 (Legal Fees) it is lists “upon signing this agreement.
client agrees to pay a flat fee in the amount of fifteen thousand dollars ($15 000),

10

 
Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 11 of 47

Therefore, Emily Gause was the counsel of record and was to attend all critical
stages of proceedings in order to function as counsel guaranteed by the Sixth
Amendment of the Constitution.

The Ninth Circuit uses a three-factor test for determining whether a preceding
is a critical stage: (1) whether the failure to pursue strategies or remedies
result in a loss of significant rights, (2) whether counsel would be useful in
helping the defendant understanding the legal issues, and (3) whether the preceding
tests the merits of the defendant's case. Hovey v. Ayers, 458 F. 3d 892, 901 (9th

Cir. 2006); See also United States v. Benford, 574 F. 3d 1228, 1232 (9th Cir. 2009).

 

The court stated that any one of these factors may be suffecient to make a preceding
a critical stage. Hovey, 458 F. 3d at 901-02. The Sixth Amendment requires that a
defendant be provided counsel at every stage of a criminal preceding where substan--
tial rights of a criminal accused may be affected. In United States v. Cronic,.
466 U.S. at 659, the court held that prejudice must be presumed if counsel is
absent from a "critical stage" in the proceedings, though Strickland ordinarely
requires proof of prejudice by counsel's absence.

1.Once the PSR was completed by the Probation Office, instead of counsel going
over it with defendant, she simply gave it to him stating if he had any objections
to file them in the next ten days. Petitioner, then defendant. was unable to as
he is not a lawyer.

2. Failure of counsel to file a notice of appeal or an appeal where there is

clear instruction by defendant to file establishes deficient performance and

prejudice even if there is a valid appeal waiver. United States v. Sandoval-Lopez,

 

409 F. 3d 1193, 1197 (9th Cir. 2005). "A lawyer who disregards specific instructions

from the defendant to file a notice of appeal acts’ in a manner that is profession-

 

ally unreasonable.". Roe v. Flores-Ortega, 528 U.S. 470, 477 120 S. Ct. 1029, 145
L. Ed 2d 985 (2000).
3. Counsel also failed to file an ‘Anders brief prior to abandoning him after

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Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 12 of 47

the plea was signed. The defendant was not able to discus further action, the plea,

or any other avenues with counsel. In Anders. v California, 386 U.S. 738, 87 §.Ct.

 

1396, 18 L. Ed 2d 493 (1967) it is required for counsel to: (1) advise the court
that there are no nonfrivolous issues on appeal; (2) file a motion requesting
permission to withdraw as counsel of record; and (3) file an opening brief “refering
to anything in the record that might arguably support the appeal.". Id at 744. This
counsel did not comply with either of the three requirements of Anders, as it is
there to provide appellate courts a basis to find if counsel fully performed
their duty to their client to the best of their ability. See McCoy v. Coirt of Appeals,
486 U.S. 429, 439 108 S.Ct. 1895, 100 L. Ed 2d 440 (1988); see also 9th Cir. Rule
4-1(c) (6).

4. Counsel also failed to contest forfeiture proceedings as they were done in
an illegal fashion. To establish a violation of 18 U.S.C. §1956 (a)(1)(B) (ii).
‘the government must prove that the defendant: (1) conducts or attempts to conduct a
financial transaction which involves proceeds of specified unlawful activity, (2)
knowing that the transaction is designed in whole or in part to avoid a transaction
reporting under state or federal law; and under Sec. (2), must be from a place in
the United States to and through a place outside the United States or to a place in
the United States from or through a place outside the United States. This would
require a showing of funds transfers being illegal or unaccounted for. No such
documentation existed prior to the forfeiture proceedings. Counsel never made any
objections or requested a stay of the proceedings to investigate the financial
dealings of the businesses. Unless the defendant knew the transaction to be or had
been illegal in "criminal activity", a defendant cannot be convicted. The investigation
and collection of Tax documentation by counsel would have shown the legality of the
_ businesses and it's transactions. this includes the purchase of property, vehicles,
homes, etc.,. This Circuit has held that convictions necessitates proof beyond a

reasonable doubt. See also United States v. Burgos, 254 F. 3d 8, 14 (lst Cir. 2001)

 

12.

 
Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 13 of 47

(stating that in order to convict the defendant of money~laundering "the government
had to prove that he had attempted to distribute cocaine to satisfy the specified
unlawful activity element of the crime." (internal quotation marks omitted)). See
(Doc. # 108-1 to 108-9)
The Toyota Scion, wherein drugs and guns were said to be found, was registered to
someone other than the defendant. The Cadillac, placed for forfeiture, was also
registered to someone else, Florinda Reyes. (Ex. 5). None of the evidence attributed
to defendant as illegal belonged to him nor was it in his possession. When criminal
forfeiture proceedings are initiated under 18 U.S.C. §982 (2)(1) for violations
of §1956, 1957, or 1960, the court "shall order that the person forfeit to the
United States any property, real or personal, involved in such offense, or any
property traceable to such property.". When counsel failed to challenge the forfeiture
and force the Government to prove financial traces to property, he is deprived of
such property illegally.

When a voluntary guilty plea is entered into, all non—jurisdictional defects
in the proceedings are waived, to include ineffective assistance of counsel, "except
as the ineffectiveness is alleged to have rendered the guilty plea involuntary".

United States v. Glinsey, 209 F. 2d 386, 392 (5th Cir. 2000). The state bears the

 

burden of persuading the court by at least a preponderance of the evidence that the
confession was voluntary. Williams, 727 F. 2d at 1389-90 (full citation omitted).
An involuntary plea is unconstitutional under the Fourth Amendment, Sims v. Gregory,
385 U.S. 538, 543-44, 87 S.Ct. 639, 17 L. Ed 2d 593 (1967).

In Mak v. Blodgett, 970 F. 2d 614 (9th Cir. 1992)(full citation omitted), the
court held that prejudice resulted from the cumulative errors including counsel's
failure to present mitigating evidence at sentencing. Here, the number of errors
far exceeds those in Mak. A Petitioner is required to allege specific facts which,

if true, "would entitle him to relief". United States v. Rodrigues, 347 F. 3d

 

818, 824 (9th Cir. 2003). In the instant case, Petitioner has met this requirement.

13.

 
Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 14 of 47

Therefore, Petitioner moves this Honorable Court to vacate, set aside, or cor-
rect his conviction and sentence based on the facts, record, and evidence above and
on the record. In the alternative, Petitioner request, at a minimum, an evidentiary
hearing for further arguments and fact finding. This being done in the interest
of justice. Petitioner prays that after careful review and consideration of the
totality of facts, law, rules, and case law this Court will find that after the
numerous errors of counsel, that she was not functioning as counsel required by

‘the Sixth Amendment therefore ineffective.

CERTIFICATE OF SERVICE

 

I HEREBY CERTIFY that a true and correct copy of the foregoing instrument
has been deposited in the Yazoo City Correctional Complex prison internal legal

mailing system with first class postage affixed thereto on this Ab day of

lly » 2019, correctly addressed to the following:

Clerk of Court Carl A. Colasurdo, AUSA

Office of Clerk United States Attorney Office (SEA)
Western District of Washington at Seattle 700 Stewart Street

700 Stewart Street STE 5220

STE 2310 Seattle, Washington 98101-1271

Seattle, Washington 98101
The undersigned hereby executes this certificate under penalty of perjury

pursuant to 28 U.S.C. §1746.

Done this LG. day of Duly » 2019.

Respectfully Submitted,

Mlle [ge

Roland J. Daza-Cortez

Reg. No. 45237-086.

Federal Correctional Complex
P.O. Box 5000

Yazoo City, Mississippi 39194

 
Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 15 of 47

Pacific Confidential PLLC Re 16-029, Daza-Cortez — Attorney-client work proc E xX . L

A Tale of Two Scions

This first page refers to only ONE of the two cars, with two separate WA DoL records for the
same car, which also further refers to Oregon records for the same car. This car was sold
initially new and financed by Honda Motor Co., then destroyed and totaled by the insurer, then
retitied in Oregon and rebuilt, then retitled in Washington with a different rebuilt title, then sold
to, but not registered by, our client, and finally apparently purchased from forfeiture auction by a
local dealer. | previously erroneously referred to this car as a Scion XB, a distinctive boxy 4-door
family car. It is actually a Scion TC, a sporty coupe. This car is now for sale at Sunnyside
Automotive Group, 12715 Aurora Avenue North, for $7995. | have not seen it in person, but one
promotional photo shows an area of trim hacked out around the right rear speaker enclosure.

A search by VIN JTKDE177270211943 yields WA license plate records 303JZH and 3O0OWQA.

Listed by WA Dol as sold to Roland, but Listed by WA DoL as titled out of state,
not registered by him or anyone else: unable to determine most recent owner
information (in WA). This record shows the
original owner, and out-of-state title issued
10/26/09, after WA title was voided by OR

on 5/09.
2007 Toyota Scion TC 2007 Toyota Scion TC
VIN JTKDE177270211943 VIN JTKDE177270211943 (same car)
Color: Not listed Color: Blue
Last registered owner: Last registered owner:
Schamp, Chryste Ann Ehlers, Phillip H. and Sarah G.
16813 41st Drive NE, 4B 3912 SW Austin Street
Arlington WA 98223 Seattle WA 98136
Expired WA plate: 303 ZJH Inactive WA plate: 9OOWQA .
Sale recorded on 10/19/15 to: Titled out of state (OR) 10/26/09
Roland Jesse Daza-Cortez Insurance destroyed 12/12/08
10822 Evergreen Way
Everett WA 98204
Last WA DOL transaction: 10/19/15 Last WA DoL transaction: 10/26/09
“Report of sale with record flagged" "Titled out of state"
Previous transaction: 9/15/14 Previous transaction: 12/12/08
"Verified title update" "Insurance destroyed"
Title number: 1424203608 Title number: 0715821209
Branded title history: Branded title history:
WA 11/25/08 rebuilt WA 11/25/08 rebuilt
OR 5/7/09 totaled
OR 5/7/09 reconstructed

Scion clarification data Greg Walsh Page 1 of 2
Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 16 of 47

Pacific Confidential PLLC

Re 16-029, Daza-Cortez Attorney-client work product

This second page refers to a confusingly similar, but different vehicle, which is associated with
four WA DoL license plates and records, of which only one is active.

This vehicle 1S a Scion XB, the boxy 4-door family car.

Asearch by VIN JTKLE50E581016644 yields four WA DoL records and license plates, of which

only one is active.

2008 Toyota Scion XB
VIN JTKLE50E581016644
Color: Silver

Current registered owner:
Cortez, Natalie R.

1002 North Meridian
Suite 100, PMB 287
Puyallup WA 98371

Current WA plate: AVS3775

Last WA DoL transaction: 8/4/16
"Manual renewal"

Previous transaction: 9/4/15
"Verified title update"

Title number: 1522941409
Title transferred: 8/17/15

Branded title history:
"WA 8/17/15 not actual"

Scion clarification data

This address is a UPS Store mail drop. Providing
an address other than the actual owner's physical
address is a violation, subject to exceptions, below.

This entry correlates to the first registration by
Natalie Cortez. One explanation for this entry,

and a likely one, would be that Natalie alerted WA
DoL to her use of a non-physical address, taking
advantage of RCW 40.24, allowing this practice
when the registered owner is a stalking or domestic
violence victim who might be endangered by
physical address disclosure.

Greg Walsh Page 2 of 2
Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 17 of 47 oe
MEMORANDUM i E

DATE: January 21, 2017

TO: FILE

FROM: | EMG

SUBJECT: Negotiation Options for Roland Daza-Cortez
Drug Quantities

Relevant Conduct

March 19, 2002: Traffic stop. Daza-Cortez driving a car that was stopped in Edmonds - 1,116
grams of cocaine and 709 grams of heroin. BS 7462-7474. However, no lab reports.

March 17, 2009: Traffic stop. Miguel Gonzalez was driving car in West Covina, CA, Daza-
Cortez is passenger. Both arrested. 2 pounds of methamphetamine in a tote bag in the trunk and
$48,000 in a hidden compartment. BS 7461, 8058-79. ‘

August 26, 2014: Traffic stop. Surveillance conducted at 6725 51st Avenue E in Tacoma -a
“known stash house fora DTA -“ Observed an Blue Lexus 250 (WA License AOT-2265) registered
to Jennifer Daza at the duplex stash house. Hispanic male, later identified at Roland Daza-Cortez,
left carrying package out of house. Put box in the trunk of the Lexus. Traffic stop — SW obtained. =
package of 9.8 pounds of methamphetamine. Lab report received on 11/29/2016 which = 3914.
grams 100% pure meth. BS 1454-64, 1485-96, 8144-8149. Exhibit 49 is the meth from the 2014
Tacoma bust. Roland never had the chance to touch the baggies. The fingerprints belong to Daniel
Naranjo-Godinez, who was busted and incarcerated for this incident.

Controlled buys in this investigation = 783 grams of meth and 2.35 grams of heroin

1. Controlled buy 11/13/14 at 13019 Beverly Park Rd. (Roland/Eribay’s Residence)
Ex 42 = 280.1 g crystal meth (mailed to lab 5/6/15) > 238 grams

2. Controlled buy from Daza-Cortez and Mendoza-Garcia on 12/5/14:
Ex, 43 = 271 g crystal meth (mailed to lab on 5/6/15) > 226.79 grams

3. Controlled buy from Daza-Cortez on 1/7/15:
Ex. 44 = 62.1 g crystal meth (mailed to lab on 5/6/15) > 32.27 grams

4. Controlled buy from Daza-Cortez on 2/13/15 89.31 2
Ex. 45 = 36.5 g heroin (mailed to lab on 5/6/15) > 2.35 grams
Ex. 46 = 94.5 g crystal meth (mailed to lab on 5/6/15 > 57.04 grams

5. Controlled buy from Daza-Cortez, delivered by Valadez-Vasquez on 2 /19/15:
Ex.47 = 216.1 g crystal meth (mailed to lab on 5/6/15) > 173.04 grams

6. Controlled buy from Daza-Cortez, delivered by Valadez-Vasquez and Mendoza-Garcia on
3/12/15:
Ex. 48 = 94.2 g crystal meth (mailed to lab on 5/6/15) > 56.31 grams

e NOTE: There are no authorizations provided for recorded calls on 2 /19 or 3/12.

x2

 
 

Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 18 of 47

Daza-Cortez Negotiation Memorandum
Page 2

Seized at execution of the SW on Beverly House on 8/12/15:
Ex. 200 = Two live Marijuana Plants
Ex. 201 = 52.1 g cocaine (in Eribay Nau Daza-Cortez’s jeans)
Ex. 202 = 63.8 g cocaine (near where Daza-Cortez was arrested)
*, Ex. 203 = 31.6 g crystal meth (found in a jacket pocket in a bedroom)

Seized from 2007 Toyota Scion at Sky’s Auto on 8/12/15:
Ex. 500 = 44 g cocaine - left rear compartment
Ex. 501 = 574.8 g crystal meth - right rear compartment
Ex. 502 = 5.3 K meth (plastic container) - left rear compartment
Ex. 503 = 290.3 g heroin - right rear compartment

LAB RESULTS:

501 = 485.6 g actual meth (99% pure)
502 = 4746 g actual meth (99% pure)
503 = 228 g heroin

DC’s prints on Exhibit 501, 2 baggies with 574.8 g meth from the Scion (BS 7405-09)
DC and MG's prints found on Exhibit 502, the 5.3 kg meth from the Scion

Exhibit 500 is the small amount of cocaine in the Scion.

 

 
Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 19 of 47

Daza-Cortez Negotiation Memorandum
Page 3

Gun Evidence

Two guns found in the 2007 Toyota Scion on August 12, 2015:

ATF Exhibit #17 ~ Smith and Wesson handgun model 39, caliber 9mm, seized from cavity between
exterior body wall and interior wall in the right rear quarter panel.

ATF Exhibit #18 - Taurus handgun Model PT 145 Millennium Pro, caliber .45, seized from the
cavity between exterior body wall and interior wall in the right rear quarter panel.

¢ Note: the photographs and love letters were also found in the cavity in the right rear
quarter panel.

Two guns found at 46% Street in Snohomish (Roland & Natalie’s house) on August 12, 2015:
Item 1 - Ruger Handgun seized from the safe located in the first floor closet of the residence
Item 2 ~ Titan handgun seized from the garage of the residence ,

¢ Information about a gun safe at Daza-Cortez’s residence 11510 46th Avenue SE. Searched
so) August 28, 2015. No safe found or guns found.

¢ . Natalie has claimed ownership of the guns at the house and the ammo

 

¢ No 924(c) nexus because no drugs found at the house.

 

17 guns (+ 1 airgun) found in the Storage Unit on August 25, 2015:
Execution of SW on the storage unit located at 2020 Bickford Avenue in Snohomish WA. Found 17
guns, bullet proof vest, thousands of rounds of ammo, large quantity rifle and handgun magazines.
e 10 guns are stolen. BS 1089-95; 7661-82; 8108-27.
7 © “Management stated that according to their records, storage unit B2-107 was rented
6 in December 2014 under the name ‘Jacobo ALVEAR,’ and that the above code, which is
used to access the main gate, has not been used since that time.” (1169)
¢ Roland did have a key and access code in his wallet but no proof that he ever accessed the
storage unit.
e Because Alvear rented the unit in his own name, made monthly payments, and nobody
accessed the unit since he first rented it, there was no probable cause to search the storage
unit connected to Roland.

 

 
Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 20 of 47

Daza-Cortez Negotiation Memorandum
Page 4

Risks at trial:

Likely base offense level of a 38
+ 2 money laundering

+ 2 leadership role

+ 2 gun possession

10 year MM on the drugs + 5 year MM on the 924(c) = 15 year MM
AUSA estimates 300+ month range if loss at trial
Current offer:

Drugs
Base offense level 34 (50+ grams of actual meth)
+ 2 money laundering
- +2 leadership role
- 3 acceptance of responsibility
= 168-210 months (14-17.5 years) 5 year MM
Gun
924(c) = 60 months consecutive to the drug counts 5 year MM

Money Laundering

Forfeit $267,500 in money laundering funds, 2008 Cadillac Escalade, all ownership in Avocados,
$60,852.38 in Union Bank 7474, and $4,179.29 in Union Bank 7466.

Joint agreement to recommend 120 months (10 years)

 
Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 21 of 47

Daza-Cortez Negotiation Memorandum
Page 5

Possible resolution options:

783 g of meth in controlled buys (only 89 grams from the meth actually delivered by Daza-Cortez)
NO pleading to 924(c) guns or drugs in the Scion

NO 924(c) for the guns in the storage unit

NO money laundering

= base offense 30 (50-150 grams actual) (B)(1)(b) plea - 5 year MM

No money laundering +2

No gun +2

No leadership role
-3 acceptance of responsibility

 

= offense level 27 (70-87 months)

Argue against “organizer, leader, manager, or supervisor” (avoids +2 enhancement) 3B1.1

Labels like “boss” do not control.

Factors: exercise of decision making authority, nature of participation in the commission of the
offense, the recruit of accomplices, the claimed right to a larger share of the fruits of the crime, the
degree of participation in planning or organizing the offense, the nature and scope of illegal activity,
degree of control and authority exercised over others. Does not apply to someone who merely
suggests committing the offense.

Try to get the government to cap recommendation at 84 months (7 years)
Defense can argue for 60 month MM

If Roland got 60 months LOW END: _ -
- 18 months credit for time served

- 15% good time credit

- RDAP (?)

 

= 23.7 months left to serve

If Roland got 84 months HIGH END:
- 18 months credit for time served
- 15% good time credit
- RDAP (?)

 

= 44 months left to serve

 
Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 22 of 47

4

Daza-Cortez Negotiation Memorandum

Page 6

Arguments for Negotiation

No Guns

No fingerprints or DNA of DC’s on the guns

Two guns in Beverly house are not DC’s (Natalie’s guns)

Despite CI trying to bait DC to admit to guns, there was no admission or response. BS 8140.
No evidence that DC ever accessed the storage unit or knew about the guns there. Storage
unit was in Jacobo’s name and the last time he used it or accessed it was in December 2014.

No Money Laundering

Lorraine’s report ~ no evidence of “cash” contribution in the amount of $330,000.
Legitimate sources of income - cannot conclude that any cash contribution must have been
drug proceeds.

No Scion

CS never told officers about the vehicle while he was actively making controlled buys or
during his extensive debriefing on February 26, 2015. (BS 10-23). It is unclear when CS
told officer about the Scion. It seems it must have been between February 26 and April 14,
2015,

Officers did no title or registration searches or anything else, whatsoever, to corroborate

the allegations relating to the Scion. The SW states “the confidential source has identified
this car as a trap car and a possible location for stored narcotics.” BS 382.

CS told officers he accessed the car 100’s of times, but

Clearly the Daza-Cortez photos and personal letters were planted. They were previously in
his Silverado that others had access to at Sky’s Auto - he was selling the truck through
Jacobo.

No fingerprints or DNA of Daza-Cortez on the guns in the Scion

No fingerprints anywhere else in the Scion

Scion is now auctioned and evidence is “destroyed” -- motion on destruction of evidence,
will be asking to suppress all evidence from Scion

Need to hire a fingerprint expert on the prints found on the bags (Ex. 501, 502)

Drug Quantity / Evidence

Only the two buys where DC did a hand-to-hand transaction + evidence on phone calls = 89
grams of meth (note: still level 30 and 10 year MM just on this quantity)

Must call CI to be able to get evidence of controlled buys in at trial

Can either agree to all controlled buys - 783 grams of meth, or just the ones they can prove
DC did hand-to-hand contact.

 
 

Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 23 of 47
Daza-Cortez Negotiation Memorandum
Page 7
Forfeiture

Government wants forfeiture of:

e $35,790 found in the Scion; YES

e $8,810 from DC’s home NO - rental income proceeds

e the two firearms from his home and 17 firearms and all ammunition located in the
storage unit; YES - but the 2 guns in Beverly home are
Natalies

and the 17 guns in the storage unit are not his

the 2008 Cadillac Escalade; NO?
the entirety of DC’s ownership stake in Avocado’s; NO! See Lorraine’s Report

$60,852.38 in a Union Bank account; NO! See Lorraine’s Report
$15,500 in a Union Bank account;and NO! See Lorraine’s Report
A sum of money not less than $367,500 NO! See Lorraine’s Report
Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 24 of 47

The Law Offices of ~
EMILY M. GAUSE Ex 3

1001 Fourth Avenue, Suite 4400

~

 

Seattle, WA 98154
EMILY M. GAUSE TELEPHONE
Attorney at Law 206-660-8775
EMAIL | FAX
emily@emilygauselaw.com . 206-389-1708
Sarah Vogel
Andy Colasurdo
Assistant United States Attorney
Western District of Washington

January 4, 2016

Dear Ms. Vogel and Mr. Colasurdo:

This constitutes defendant’s supplemental request for discovery, specifically for any and all
exculpatory information pursuant to Brady v. Maryland, 373 U.S. 83 (1963). This requires the State to
reveal any information it actually or constructively possess and which information is favorable to the
defendant and material to the issue of guilt or punishment, or in any way discredits the State’s case.
Brady v. Maryland, 373 U.S. 83, 87 (1963); CrR 4.7. Although the Brady rule often is phrased in terms
of information “known to the prosecution,” the prosecution’s “knowledge” for this purpose extends
beyond the personal knowledge of the prosecuting attorney representing the State at trial. Giglio v.
United States, 405 U.S. 150, 154 (1972). “The individual prosecutor has a duty to learn of any favorable ~
evidence known to others acting on the government’s behalf in the case, including the police.” Kyles v.
Whitley, 514 U.S. 419, 437 (1995). That duty is not triggered by a defense request for such material,
instead “Bradv obligations extend to favorable evidence not specifically requested by the defense. United
States v. Agurs, 427 U.S. 97, 110, 96 S.Ct. 2392, 49 L.Ed.2d 342 (1976). A prosecutor must resolve
doubts regarding disclosure in favor of sharing the evidence with the defense. Kyles at 437. This includes
evidence that impeaches any state witness in anyway. Id. Due process requires disclosure of any
evidence that provides any grounds for the defense to attack the reliability, thoroughness, and good faith
of any investigation, to impeach the credibility of any state witness, and to bolster the defense case. Id.
Information requested pursuant to Brady need not be admissible evidence to be subject to disclosure to
defense counsel. Coleman v. Calderon, 150 F.3d 1105, 117 (9th Cir. 1998).

 

Brady evidence includes any information that is favorable to the defendant on the issue of
punishment. Therefore, anything mitigating in any way known to the prosecutor’s office or the police
must be disclosed to defense prior to sentencing. If there if any information possessed by the State. either
actually or constructively, that could support any argument for a lesser sentence, that information must be
disclosed.

 
Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 25 of 47
Further, Brady obligations continue even after a guilty plea. Otherwise, “prosecutors may be
tempted to deliberately withhold exculpatory information as part of an attempt to elicit guilty pleas.”
Sanchez v. United States, 50 F.3d 1448, 1453 (9th Cir. 1995). A defendant challenging the voluntariness
of a guilty plea may assert a Brady claim. Id.

 

“Exculpatory evidence cannot be kept out of the hands of the defense just because the prosecutor
does not have it, where an investigating agency does.” United States v. Price, 556 F.3d 900, 914 (9th Cir.
2009). That would undermine Brady by allowing the investigating agency to prevent production by
keeping a report out of the prosecutor’s hands until the agency decided the prosecutor ought to have it...
Id. (quoting United States v. Zuno-Arce. 44 F.3d 1420, 1427 (9th Cir.1995)). “Actual awareness, or leck
thereof, of exculpatory evidence in the government’s hands, is not determinative of the prosecution’s
disclosure obligations; rather, the prosecution has a duty to learn of any exculpatory evidence known to
others acting on the government’s behalf.” Carriger v. Stewart, 132 F.3d 463, 479-80 (9th Cir.1997) (en
banc).

 

2

Specifically, the defendant is requesting the following:

(1) Impeachment material: Any material evidence which bears on the credibility of the
confidential informant(s) and any other government witness, even if that witness will not testify
at trial. This includes evidence demonstrating bias, prejudices, possible motives for lying or
exaggerating, and prior bad acts. See United States v. Abel, 469 U.S. 45, 105 S.Ct. 465, 83
L.Ed.2d 450 (1984). This also includes any ulterior motives of the witness or evidence that tests
the witness’s perception or memory. Davis v. Alaska, 415 U.S. 308, 94 S.Ct 1105, 39 L.Ed.2d
347 (1974). This would include any information that the witness was under the influence of
drugs at any point when he was cooperating with law enforcement or providing information.

 

(2) Criminal History: Any. and all records and information revealing the informant or witness’s prior
felony convictions; convictions for crimes involving false statements or dishonesty; relevant “rap”
sheets and/or NCIC computer check on the informant; and the informant’s entire criminal record,
including prison and jail records, and any information therein which bears on credibility. See
Carriger v. Stewart, 312 F.3d 463, 480 (9th Cir. 1997); United States v. Alvarez-Lopez, 559 F.2d
115 (9th Cir. 1977); Fed.R.Evid. 609.

(3) Prior Bad Acts: Any and all records and information revealing prior misconduct or bad acts
attributed to the witness, including, but not limited to, acts conducted by the witness. Fed.R-Evid.
608(b). This falls under impeachment material that must be disclosed under Giglio v. United States,
405 U.S. 150, 92 S.Ct. 763, 31 L.Ed.2d 104 (1972).

(4) Consideration, promises, leniency: Any and all consideration or promises of consideration given
to the witness, or expected or hoped tor by the witness. “Consideration” means anything, whether
bargained for or not, which arguably could be of value or use to the witness or of persons of concern
to the witness, including formal or informal and direct or indirect leniency, favorable treatment or
recommendations, or other assistance with respect to any pending or potential criminal, parole,
probation, pardon, clemency, civil, tax court, J.R.S., court of claims, administrative, or other dispute
with the United States. “Consideration” also means any favorable treatment or recommendations
with respect to criminal, civil or tax immunity grants, relief trom torfeiture, monetary payments,
permission to keep the fruits of criminal activity - such as cash, vehicles, aircraft, real property,
rewards or fees - witness fees and special witness fees, provisions of food, clothing, shelter,
transportation, legal services or other benefits, placement in a “witness protection program,” and
anything else which could possibly reveal an interest, motive, or bias in favor of the government
or against the defense or which could act as an inducement to testify or to color testimony. See

 
 

Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 26 of 47
Giglio, supra; Guam v. Dela Rosa, 644 F.2d 1257 (9th Cir. 1980). United States v. Goff, 857 F.2d

149, 161 (5 Cir. 1988) See also Bagley, 473 U.S. 667 (failure of government to disclose that it
paid security guards to provide information incriminating the defendant was a Brady violation);
U.S. v. Sipe, 388 F.3d 471, 488 (5™ Cir. 2004) (Brady required government to disclose that
prosecution witnesses received “Social Security cards, witness fees, permits allowing travel to and
from Mexico, travel expenses, living expenses, some phone expenses, and other benefits”).

 

(5) Threats: Any and all threats, express or implied, direct or indirect, or other coercion made or
directed against the witness, criminal prosecutions, investigations, or potentially pending
prosecutions or which could be initiated, any probationary, parole, deferred prosecution, or
custodial status of the witness and any civil, tax court, court of claims, administrative, or other
pending or potential legal disputes ‘or transactions with the government or over which -the
government has a real, apparent, or perceived influence. Davis v. Alaska, 15 U.S. 308, 94 S.Ct
1105, 39 L.Ed.2d 347 (1974); Alvaerz-Lopez, supra; United States v. Sutton, 542 F.2d 1239 (4th
Cir. 1976).

(6) Prior Testimony: The existence and identification of each occasion on which the witness has
testified before this Court, the grand jury, or other body or tribunal in connection with this or related
cases. Alvarez-Lopez, supra; Johnson v. Brewer, 521 F.2d 556 (8th Cir. 1975).

(7) Capacity to Testify: Any evidence, including any medical or psychiatric/psychological reports
or evaluations, tending to show that the witness’s ability to perceive, remember, communicate, or
tell the truth is impaired or that the witness has used narcotics or other controlled substances or has
been an alcoholic. United States v. Strifler, 851 F.2d 1197 (9th Cir. 1988); United States v. Bernard
625 F.2d 854 (9th Cir. 1980); United States v. Butler, 567 F.2d 885 (9th Cir. 1978).

 

 

 

I request the timely production of any materials that are required to be disclosed under Bradv and
its progeny. This information should be disclosed as soon as it is discovered. The government, now put
on notice, should inquire about potential Brady evidence from anyone in its office or anyone in law
enforcement’s office related to this case.

Please advise me of any questions or concerns.
Thank you,

Emily M. Gause

LAW OFFICES OF EMILY M. GAUSE, PLLC

1001 Fourth Avenue, Suite 4400
Seattle, WA 98154

 

 
Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 27. of 47

From: Emily M. Gause [mailto:emily@emilygauselaw.com]
Sent: Wednesday, January 4,.2017.3:32.PM_...

To: Vogel, Sarah (USAWAW) <SVogel@usa.doj.gov>; Colasurdo, Andy (USAWAW) <AColasurdo@usa.doj.gov>
Subject: Roland Daza-Cortez Supplemental Discovery Request

Sarah and Andy,

Please see defendant's supplemental discovery request. | specifically request any consideration, promises,
criminal history, and impeachment material pertaining to Fernando Garcia and Jacobo Lucio Alvear, | also want to

at Hehe ee

‘now whether either of these two witnesses will be called by the government at trial.

1 expect to have Lorraine Barrick’s report in the next couple of weeks and would like to discuss resolution after
that point. I’ll present you both a proposal of the issues as I see them, any evidentiary issues I plan to raise, and an
endorsed offer from Mr. Daza-Cortez. At that point, we can discuss. ,

Thank you,

Emily M. Gause

Attorney at Law

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a Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 28.of 47
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sender immediately by reply e-mail. Thank you.

From: Colasurdo, Andy (USAWAW) [mailto:Andy.Colasurdo@usdoj.gov]

Sent: Thursday, January 12, 2017 5:52 PM

To: Emily M. Gause <emily@emilygauselaw.com>

Cc: Wolgamuth, Karen (USAWAW) <Karen.Wolgamuth@usdoj.gov>; Vogel, Sarah (USAWAW) <Sarah.Vogel usdoj. ov>
Subject: RE: Roland Daza-Cortez Supplemental Discovery Request - REVISED

 

Hi Emily,
Thanks for your email.
As we indicated in our earlier email, we will turn over any Brady material as it is discovered.

As for Giglio material, we are only obligated to turn over impeachment information related to
the witnesses we intend to call at trial. (At this oint, we have.no de a fi nal decision ; as to.
whetherwe are g going to call the witnessesiyou r referenced in your letter. While it t is certajnly
Jikely that. we will call the CSfit is nota sure thing ds s we can prove the case without

-him.. Furthermore, there are additional privacy and sa safety interests that would merit delaying
the production of such information about the CS until we are closer to trial. Perhaps mo most.
importantly, we are unaware of

never mind a rule that t requires | us s to continue to ) engage i in n negotiations ; after we. e have.

-provided pre- trial witness 5 disclosures. If you are aware of such a rule or case law, please

Mice ane

     

 

   

 

As it stands now, based on our current proposed timeline for negotiations and assuming
negotiations fail, the the impeachment information that we have gathered to date would likely be
_turned over to you shortly after the February 1, 2017 deadline for negotiations. In your email,
‘you ii indicated that you may file a motion to compel. _Any motion will only serve to end_ /

_ negotiations...

 

 
Se Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 29 of 47
‘Finally, your email did not all address your discovery obligations. So again, we renew our

request for discovery. See Fed. R. Crim. P. 16(b)(1)(A).

C. Andrew Colasurdo
Assistant United States Attorney
Criminal Enterprises Unit

(206) 553-4075

From: Emily M. Gause [mailto:emily@emilygauselaw.com]

Sent: Wednesday,January.11,.2017-3:44-RM.~

To: Vogel, Sarah (USAWAW) <SVogel@usa.doj.gov>

Cc: Wolgamuth, Karen (USAWAW) <KWolgamuth@usa.doj.gov>; Colasurdo, Andy (USAWAW)

<AColasurdo @usa.doj.gov>
Subject: RE: Roland Daza-Cortez Supplemental Discovery Request - REVISED

I disagree with your analysis about when Brady/Giglio information is required to be disclosed. If we cannot agree
on this, I will file a motion to compel noted for next Friday. This type of information should be disclosed before a
defendant must make a decision whether to plead guilty.

Please let me know your position by tomorrow.

Thank you,

Emily M. Gause

Attorney at Law

The Law Offices of Emily M. Gause, PLLC
1001 Fourth Avenue, Suite 4400

Seaitle, WA 98154

Phone: 206-660-8775

Fax: 206-389-1708"

Website | LinkedIn | Avvo
Criminal defense throughout the State of Washington

 

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copying of this communication, other than delivery to the intended recipient is strictly prohibited. if you have received this communication in error, please notify the
sender immediately by reply e-mail. Thank you. :

From: Vogel, Sarah (USAWAW) [mailto:Sarah.Vogel@usdoj.gov]

Sent: Tuesday, January 10, 2017 10:37 AM... .

To: Emily M. Gause <emily@emilygauselaw.com>

Cc: Wolgamuth, Karen (USAWAW) <Ka ren.Wolgamuth@usdoj.gov>; Colasurdo, Andy (USAWAW)
<Andy.Colasurdo@usdoj.gov> .

Subject: Roland Daza-Cortez Supplemental Discovery Request - REVISED

Hi Emily,

 
 

mt Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 30.of 47
We received this request. As always, any Brady material will be disclosed as

discovered. We take this opportunity to, once again, renew our request for
reciprocal discovery under Federal and Local Criminal Rule 16, which impose
discovery obligations on the defense as well as the government. To date, despite
numerous requests, you have provided nothing to us nor offered us any
opportunity to inspect defense-controlled evidence. See Fed. R. Crim. P.
16(b)(1)(A).

You have requested numerous specific items of impeachment

information. Impeachment information is subject to disclosure in the context of
the witness(es) testifying, so we generally would not disclose such impeachment
information if we are still actively negotiating a plea that would eliminate the need
for the testimony. Your cover email suggests you want to keep negotiations open

for “the next couple of weeks.” To make that possible, we will continue our
already ongoing work to gather and prepare witness impeachment packets, but
will not actually turn them over until negotiations close.

 

You should assume that we may call either or both of the Witnesses you mention,
below. We already have provided you with numerous reports with their Jencks |
statements. Of course, we reserve the right not to call any particular witness,
whether included on our witness list or not, depending on the precise nature of
other testimony/evidence and the nature of the defense (still entirely unknown to

| us).

Given our current timetable, with pretrial motions due February 6th, | would.
expect we will close negotiations not later than February 1, 2017. We look
forward to hearing your proposals and engaging in any constructive dialogue
about resolution well in advance of that deadline. If you’d like to change this
timeline, please give us a call.

Sarah Y. Vogel
Assistant U.S. Attorney
700 Stewart St., #5220
Seattle, WA 98101
206-553-2074 — desk
206-553-4440 — fax

 
Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 31.of 47
emily@emilygauselaw.com

From: Colasurdo, Andy (USAWAW) <Andy.Colasurdo@usdoj.gov>

Sent: _ Thursday, January-19,.2017 9:29 AM_

To: emily@emilygauselaw.com .

Ce: Wolgamuth, Karen (USAWAW); Vogel, Sarah (USAWAW) |
Subject: RE: Roland Daza-Cortez Supplemental Discovery Request - REVISED
’ Emily,

We would prefer to get the discussions started earlier rather than later. So, assuming this time still works for you, let’s
plan on having a conference call on Monday, January 23 at 4:30, Would you like us to call you? If so, what number
would you prefer we call? If you want to call us, you can call Sarah’s office at 553-2074.

 

’ Take care.

C. Andrew Colasurdo
Assistant United States Attorney
Criminal Enterprises Unit

(206) 553-4075

From: emily@emilygauselaw.com [mailto:emily@emilygauselaw.com]

Sent: Wednesday, January 18, 2017 2:42 PM__

To: Colasurdo, Andy (USAWAW) <AColasurdo@usa.doj.gov>

Cc: Wolgamuth, Karen (USAWAW) <KWolgamuth@usa.doj.gov>; Vogel, Sarah (USAWAW) <SVogel@usa.doj.gov>
Subject: RE: Roland Daza-Cortez Supplemental Discovery Request - REVISED

Andy,

1am not sure what you are referring to in your discovery request. If you are fishing for something specific, please
just tell me.

] anticipate having Lorraine Barrick’s report on the money laundering allegations by Friday or early next week. |
plan on sharing that report with you and putting aside significant time next week to negotiate with you two. I have
emails and summaries of work completed by my investigator Greg Walsh, but am asking him to compile that into a
report form by next week as well. Mr. Walsh has been out on medical leave the last 2 weeks.

We could do an in-person meeting on Monday 1/23 at 4:30-5:30 (or phone call). Or we could do a phone meeting
Tuesday 1/24 in the morning. Or we could do an in person or phone call meeting Wednesday 1/25. I have

‘blocked off Thursday 1/26 to prepare motions in this case.

 

 

As of now, given that J hope we can resolve this case, 1am going to hold off on a motion to compel. I disagree about...
.when impeachment information must be disclosed and would point you to Judge Jones’ recent order in US v.

-Eiazicrabout this very issue (attached). If.we.cannot get somewhere by the end of next week, I plan to move “
ahead with filing motions, including a motion to compel for this information if necessary.

     

Please let me know what your schedule looks like for next week. Looking forward to speaking with you.

 
 

Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 32 of 47
emily@emilygauselaw.com .

From: emily@emilygauselaw.com .

Sent: Sunday, February 19, 2017 11:04 AM

To: ‘Colasurdo, Andy (USAWAW)’; ‘Vogel, Sarah (USAWAW)'
Subject: Daza-Cortez Discovery Inquiry

Sarah and Andy,

It seems clear from the discovery, the search warrant affidavits, and the newly disclosed transcripts of grand jury
testimony that we still do not have all of the relevant materials pertaining to Fernando Garcia Ballardo, aka the CS,
and the Scion. What had already been apparent now seems resoundingly clear in light of Agent Williams's grand —
jury testimony.

Bates 380-383 is the first mention of the Scion: during surveillance on Mendoza-Garcia on April 14, 2015,
agents “located a blue 2007 Toyota Scion, bearing Washington license 303ZJH, parked at the business. The
confidential source has identified this car as a trap car, and a possible location for stored narcotics.” Williams
repeats this assertion in his affidavits. But, the government has never produced any information how and when
the CS specifically identified the Scion.

The search warrant affidavits, in turn, reference an alleged incident on August 26, 2014 during which Mr. Daza-
Cortez allegedly called Eribay from Sky's and instructed Eribay and Fernando to move the Scion. We have no

discovery relating to that alleged event or how and when Fernando made this allegation to law enforcement.

Finally, during his January 7, 2016 grand jury testimony, Williams averred that FernandoSent him a photo of.

the Scion, gave him the plate number, and told him: “I girantée you there's going to’be drugs or something inside.

FA ret tae or

this vehicle.” Williams then relatéd the tale about Mr. Daza-Cortez, Eribay, Fernando, and the.Scion on August 26, |

2014. Bates 0080-83. We have no discovery relating to any of this,|which is very concerning given that the entire
probable cause'for the Scion is founded upon Fernando's allegations as to August 26,2014, when the Scion was stil) _
Tegistered to.him. This seems to go directly towards his credibility and his knowledge of the mechanics of the)

vehicle. nol MeN leet Ses on

 

 

 

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Perhaps we are in error and somehow overlooked these particular documents amidst the thousands of pages of
discovery. If so, a gentle nudge in the right direction would be greatly appreciated.

Otherwise, please produce any and all investigative reports and agents’ notes of interviews which detail how and
_ when Fernando pointed out the Scion to law enforcement as well as anything which generally pertains to
the Scion. .

Thank you,

Emily M. Gause —

Attorney at Law

Gause Law Offices, PLLC

1001 Fourth Avenue, Suite 4400
Seattle, WA 98154

Phone: 206-660-8775

Fax: 206-389-1708

 

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, 33 of 47
From: CHIR ee SN vir (SAWAW)? Sarah Vopel@usdoigovs. Page 330

Date: February 21, 2017 at 10:17:33 AM PST
To: "emily@emilygauselaw.com" <emily@emilygauselaw.com>, "Colasurdo, Andy

- UUSAWAW)" <Andy.Colasurdo@usdoj.gov>

Ce: "Wolgamuth, Karen (USAWAW)" <Karen. Wolgamuth@usdoj.gov>
Subject: RE: Daza-Cortez Discovery Inquiry

Hi Emily,

The referenced photo of the Scion is in the CS text messages at Bates
008801.

Our agent is out of town for a few days, but we will raise your concerns
with him at our next meeting later this week. It is certainly our
intention to make sure you get everything to which you are

entitled. syv

Sarah Y. Vogel
AUSA —-WDWA
206-553-2074 — ofc

206-553-4440 — fax

From: emily@emilygauselaw.com [mailto:emily@emilygauselaw.com]

Sent: Sunday, February 19, 2017 11:04 AM

To: Colasurdo, Andy (USAWAW) <AColasurdo@usa.doj.gov>; Vogel, Sarah (USAWAW)
<SVogel@usa.doj.gov>

Subject: Daza-Cortez Discovery Inquiry

Sarah and Andy,

It seems clear from the discovery, the search warrant affidavits, and the newly disclosed
transcripts of grand jury testimony that we still do not have all of the relevant materials
2

 
 

'18-Cv- 8-RA. ogument 11 Filed,08/05/19 Page 34 of 47
pertains 6 aie ie orth Ballardo, aka the CS, and the Scion. What had already been

apparent now seems resoundingly clear in light of Agent Williams's grand jury testimony.

Bates 380-383 is the first mention of the Scion: during surveillance on Mendoza-Garcia on
April 14, 2015, agents “located a blue 2007 Toyota Scion, bearing Washington license
303ZJH, parked at the business. The confidential source has identified this car as a trap
car, and a possible location for stored narcotics.” Williams repeats this assertion in

his affidavits. But, the government has never produced any information how and when
the CS specifically identified the Scion. °

The search warrant affidavits, in turn, reference an alleged incident on August 26, 2014
during which Mr. Daza-Cortez allegedly called Eribay from Sky's and instructed Eribay and
Fernando to move the Scion. We have no discovery relating to that alleged event or how
and when Fernando made this allegation to law enforcement.

Finally, during his January 7, 2016 grand jury testimony, Williams averred that Fernando
sent him a photo of the Scion, gave him the plate number, and told him: "I guarantee you,
there's going to be drugs or something inside this vehicle.” Williams then related the tale
about Mr. Daza-Cortez, Eribay, Fernando, and the Scion on August 26, 2014. Bates 10080-
83. We have no discovery relating to any of this, which is very concerning given that the
entire probable cause for the Scion is founded upon Fernando's allegations as to August
26, 2014, when the Scion was still registered to him. This seems to go directly towards his
credibility and his knowledge of the mechanics of the vehicle.

Perhaps we are in error and somehow overlooked these particular documents amidst the
thousands of pages of discovery. If so, a gentle nudge in the right direction would be
greatly appreciated.

Otherwise, please produce any and all investigative reports and agents’ notes of
interviews which detail how and when Fernando pointed out the Scion to law
enforcement as well as anything which generally pertains to the Scion.

Thank you,

 
Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 35 of 47
emily@emilygauselaw.com

From: emily@emilygauselaw.com -

Sent: : ‘Monday, January 23, 2017 10:38 PM

To: ‘Vogel, Sarah (USAWAW)’; 'Colasurdo, Andy (USAWAW)'
Subject: Daza-Cortez Offer to Resolve

Attachments: Daza Cortez Money Laundering Preliminary Report.pdf
Sarah and Andy,

Mr. Daza-Cortez will agree to resolve this case to a mandatory minimum of 5-years on the drugs from the
controlled buys attributed to him, with an agreement from the government not to recommend more than 84
months at sentencing. He will not agree to plead to any evidence found in the Toyota Scion at Sky’s Auto, the guns
in the storage unit rented by Jacobo, any 924(c) or to the money laundering. Lorraine Barrick’s report is

attached. | anticipate providing Greg Walsh’s reports to you later tonight.

I look forward to discussing further. My client and I are motivated to get this on for a change of plea hearing before
February 1.

Thanks,

Emily M. Gause

Attorney at Law

Gause Law Offices, PLLC

1001 Fourth Avenue, Suite 4400
Seattle, WA 98154

Phone: 206-660-8775

Fax: 206-389-1708

 

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sender immediately by reply e-mail. Thank you.

 
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wate Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 36-of 47
emily@emilygauselaw.com

From: _ Colasurdo, Andy (USAWAW) <Andy.Colasurdo@usdoj.gov>
Sent: Wednesday, January 25, 2017 4:32 PM
To: emily@emilygauselaw.com

Cec: , Vogel, Sarah (USAWAW); Wolgamuth, Karen (USAWAW)
Subject: Daza Cortez: Proposed Plea Agreement

Attachments: Daza Plea Agr Draft 7.pdf

Emily,

After taking time to review your financial analyst’s report and to consider your client’s
proposal, we have prepared a proposed plea agreement which is attached to this
email. Below are some things to note about our current proposal.

Charges
This proposal allows your client to plead guilty to a 5-year mandatory minimum drug offense,

as opposed to the 10-year mandatory minimum offense as currently charged. This plea
agreement also requires your client to plead guilty to one count of money laundering. Under
this proposal, however, we are allowing him to plead guilty to Count 9 (related to the
Escalade), rather than to Count 6 (related to Avocados). This plea agreement also does not
“Tequire your Client to plead guilty to the 924(c) offense, or any other firearm-related _
offense. This concession eliminates a 5-year mandatory minimum offense that would have to
be served consecutive to the 5-year mandatory minimum term on the drug count. Thus, as
currently proposed, your client would only facea 5-year mandatory minimum sentence if he
accepts this offer, not the 10-year mandatory minimum we previously proposed or the
potential 15-year mandatory minimum he would face if he is convicted at trial (assuming the
current policy of not “stacking” multiple 924(c) sentences continues).

 

Facts

The fact section also takes several of your client’s concerns in to account. For example, the
language previously included, that characterized your client as the /éader, has been

removed. In addition, all references to the storage locker and the firearms found within it
have begfi removed)We also eliminated any reference to the firearms found at his

residence. While the fact section continues to reference the items found in the Scion, albeit in
a greatly watered-down fashion, the plea agreement simply states that evidence would 5
establish the fact that the items were foundfnotfhat your client admits any connection to the-
Scion or its contents. Further, the plea agreement explicitly states that your client will likely

 

 

argue that the evidence connected to the Scion should not be considered relevant
conduct. Finally, the facts pertaining to Avocados restaurant (Count 6) have been replaced
with the facts supporting the Money Laundering charge related to the Escalade (Count 9).

1

 
 

ae vee Case 2:18-cv-01608-RAJ Document11 Filed 08/05/19 Page 37 of 47

Guidelines Calculations .

The Guidelines calculations take into the actual amounts of methamphetamine now that we
have those results. But consistent with the revised fact section, he is only‘agreeing to be held
accountable for the methampheta mine recovered fromthe vehicle in August 2014 and the
controlled buys to the CS between November 2014 and March 2015. The drugs recovered for’
the Scion are not includedjin this calculation. Also, consistent with the concessions made in
the fact section, your client no longer has to agree toa 2-level leadership enhancement. In
Addition, he does not have to agree to a 2-level firearm enhancement. This enhancement did

-not previously apply because under the old proposal he was required to plead guilty to the
924(c) offense; without the 924(c) offense it could now apply.

 

 

Forfeiture

There are a couple key components to this section. First and foremost, this proposal does not
require your client to give up his interest in Avocados. This is a major concession and
addresses one of your client’s primary concerns — his ownership interest in the

restaurant. Furthermore, under this proposal, in addition to the funds and guns that already

have been administratively forfeited, your clie ly be required to forfeit his interest
_ in the following contested assets: (1}the Cadillac Escalade; {Z) the $60,852.38 and $4,179.29 _
seized from the Union Bank account’; and { 1,973.50 already seized as payments fram-

Avocados, plus any subsequent payments made prior to the eniry of his plea. Once a plea is
entered, those payments will no longer go to the United States. Thus, the sooner your client
pleads guilty, the more money he saves for himself. As it currently stands, we collect
approximately $4,000 per month.

‘

 

 

 

 

If your client does not accept the plea agreement and he proceeds to trial because he cannot
accept the forfeiture as proposed, he needs to realize that his position as to forfeiture will
likely‘not improve and could get much worse even if the government fails to prove the money_
laundering counts” Assuming we prevail on the drug charges’ we could present testimony in

the forfeiture phase of the trial as to the amount of drug¢ distributed and gross sales.’ This
amount could be named @Sa Forfeiture Money Judgment (FM) and we could then forfeit any
assets wherein he has-a-ne , aS a substitute asset. Assuming the gross sales would be
greater than the$140,000 oro we have already seized, we would name what we have on

hand as a substitute asset. Further’ we would name his interest int as substitute.
asset and continue to collect his draws until the FMJ was satisfied”

 

 

 

 

Recommendation

Finally, due to the concessions made with respect to the charges your client would be pleading
_ guilty to, he would no longer face a mandatory minimum 10-year sentence. Instead, he would

face only a 5-year mandatory minimum. In addition, not only have we agreed to remove the

10-year floor, we have also agreed to come off our prior recommendation of 10 years and limit

2

 
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ourselves to recommending a sentence of no greater than 9 years (108 months). In excnange
for this, and all the other concessions contained in the plea agreement, your client would be
required to request nothing less thana sentence of 7 years (84 months). |

Ultimately, we believe that our current proposal is very generous and takes into account the
lion share of your client’s concerns. We believe this offer is generous because we have
essentially three separate ways to obtain a 10-year mandatory minimum sentence — by
connecting him to (1) the drugs found in the car in August 2014, ) the drugs sold to the CS, or
(3) the drugs recovered from the Scion. We believe the evidence with respect to each is very

_ strong. Moreover, based on the anticipated testimony of the CS and other witnesses, as well
as the letters/pictures found next to the guns and the bags of drugs — bags of drugs that had
your client’s and a co-conspirator’s fingerprints on them — we are confident that we can tie
your client to the Scion and have a very good chance of prevailing on the 924(c) count. That,
of course, in combination with a conviction to a (b)(1)(A) drug offense would mean that your
client would be serving the next 15 years in prison, at a minimum. Furthermore, his Guidelines
range, even after acceptance of responsibility, could be as high as 262 to 327 months. Post-
trial, it could be as high as 360 to life. Finally, regarding forfeiture, our proposal provides for a
much better outcome than he could hope to expect after a trial, even assuming we do not
prevail on any money laundering counts.

The deadline to accept this offer is Monday, January 31, 2017. The plea must be entered by
that date.

Thanks again for taking the time to discuss the case and your client’s position. We looking
forward to hearing from you about your client’s intentions moving forward.

Take care.

C. Andrew Colasurdo
Assistant United States Attorney
Criminal Enterprises Unit

(206) 553-4075

 
 

Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 39 of 47

10/27/2017 iCloud Mail

product) are not required to be transferred or disclosed under RPC 1.16 (See WSBA Advisory Opinion [81). However, I
would be happy to answer questions you have and provide any help I can to Roland.

Thank you,

Emily M. Gause

Altorney at Law

Gause Law Offices, PLLC

130 Andover Park East, Suite 300
Tukwila. WA 98188

Phone: 206-660-8775

Fax: 206-260-7050

Website | LinkedIn | Avvo
Criminal defense throughout the State of Washington

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than delivery to the intended recipient is strictly prohibited. If you have received this communication in error. please notify the sender immediately by reply e-mail. Thank you.

From: Yan Shrayberman |mailto:yanesq@icloud.conj

Sent: Tuesday, August 15, 2017 9:36 PM

To: Emily M. Gause <emily@emilygauselaw.con>

Subject: Request for Further Discovery (Rollando Daza-Cortez)

Good afternoon Mrs. Gause,

I've received the discovery box you sent over ,and | thank you for that. Inside the box were a number of
CD's, documentation and index of the CD’s and an envelope with original receipts from the business.
Please send me your notes you took in this case as ell as email between your self and the AUSAs. |
believe that would complete the file.

Thank you in advance

Yan

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rs)

 

 
Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 40 of “£ 4
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96/06/2016 16:38 IFAX rwfax@riddeliwi! + RWFax 001/001
Jun 06 16 03:41p Lalos Trucking { 559 5305 p.1
~ The Law Otnces of
EMILY M. GAUSE .
1001 Fourth Avenue, Suite 4400

' ‘Seattle, WA 98154 ~
EMILY M. GAUSE _ TELEPHONE
Attomey at Law ns . 206-660-8775

| "FAX.
only @emilyganselavr.com yo "206-389-1708
FEE AGREEMENT-

CLIENT, ATTORNEY, AND PAYOR MUTUALLY AGREE AS FOLLOWS: .
1, Scope of Representation, Client agrees to retain the Attorney to represent him in the case
identified below, - - ne -

United States of American v, Roland Jess Daza-Cortez, CR15-00269-RAJ
; Conspiracy to Distribute Controlied Substances ; .

Servicesto include: all investigation upto tial inclading representation i hearings ani
: > Pretrial
and, if necessary, sentencing, ~ - - mo
Je Services of Atamey do not include a benclijury trial os Ss
- Wits OmmY do-not inchude complex evidentiary prefrial heariags (mig: ials”
The services provided by the Attomey will include all legal necessary
on Tepresentation reasonabi
to defend the client up to trial. iss agreement does not include a trial fee, which will he bece,
on the estimated length of trial and complexity of issnes, and will be subject to a separate -

Page] of 4

 

 
Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 41 of 47

 

. liam 001/001
06/06/2016 16:40 IFAX rwfax@riddellwilliams .com _s Rima a
Jun 06 1603:43p Lalos Trucking :

agreement entered in no less than 30 days Poor to the trial date. Further, this agreement does not
cover complex evidentiary pretyial hearings (Cmini-trials” with wimesses), which are not common
but could arise in the client's case. 3

This Agreement does not include representation of client in any of the following proceedings: ;
. rect or interlocutory appeal, retrial of thé case after a mistrial or hung jury, Civil or administrative

hearings (even if related to the criminal case), motions for discretionary review, probation/sentence

modification hearings, or post-seutencing hearings. This Agreement is specifically limited to

amount of th d dollars 15.000 This flat fee deposit is cared by the Attorney when
paid. Paying the flat legal fee does not affect the Client’s right to terminate the lawyer-client
- relationship. The flat legal fee will not be placed in a trust account. The Client may or may not
be entitled to a partial refund if Attomey’s representation is terminated before the agreed legal
work is completed. Earned legal fees-and costs are not refundable under any circumstances and
" are not contingent on the outcome of any matter. This flat legal fee is subject to Rule 1.5 of the
Washington State Rules of Professional Conduct. . .

 

Client and Attomey have agreed that $15,000 must be paid by

Should this matter 80 to trial, the Client and Attomey will agree on additional legal fees
and possible costs to be paid by the Client in a Separate agreement, due 30 days prior to trial.

If the attomey-client relationship is terminated ‘early, before completion of the scope of
representation, client may request an accounting for all legal fées and costs eamed to date.

 

3. Costs and Other Charges. Client and Payor agree to pay additional costs and expenses ,
related to the Attomey’s legal representation, Costs include, but are not limited to: investigation
fees, retaining experts or consultants, court reporter fees, transcription; notary fees, long distance
telephone charges, Photocopies (15 cents per Page), messenger service, postage, travel (including
transportation, mileage at 575 cents per mile, lodging, meals), and all other out-of-pocket

Page 2 of 4
Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 42 of 47

 

 

 

96/06/2016 16:43 IFAX rvfax@riddellwilliams.com +. RWFax 002/001

—

Jun 06 16 03:46p Lalos Trucking . 559€ 3305 ; p.1

4, Cooperation of Client. Client agrees to keep the Attorney informed of his or her address
and other contact information, including a current phone number, and 10 appear at office
appointments and court hearings on time, and to cooperate with reasonable requests of the attomey.

5. Communication by Attomey. Attorney agrees to retum alll calls and emails within a
‘reasonable amount of time, not to exceed 48 hours, and meet with client at the client's request as

 

Strategy and client’s objectives. Client’s nomnally defer to the special knowledge and skill of their
lawyer with respect to the means to be used-to accomplish their objectives, particularly with respect
to technical, legal and tactical matters. In a criminal case, the Client makes the decision, after
consultation with Attorney, whether to accept aplea deal or go to trial, whether to have a jury trial
or bench trial, and whether to testify at trial. All communications between Attomey and Client are

6. Non-Pa Collection. Ai s Fees, and Interest Any money owed to the
Attomey must be paid by the date specifically set forth on the invaice. Client and Payor agres to
pay a late charge of 1.5% per month on the balance of accounts more than 28 days past due. Cent
and Payor agree to pay a fee of $25.00 for each check his or her bank refuses to honor. Client is
tesponsible for any credit card fees (3% charged ty Apple Square). If there is a dispute regarding
this Agreement, Client ‘and/or Payor will pay the costs of collection and enforcement of this
Agreement. If the Attorney deems it necessary to file an action against the Client and/or Payor to

 

Page 3 of 4

 
Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 43 of 47

 

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BY: . 7 Dated: b/v/ i

Emily M. Gause, Attomey at Law ;

Thave read and understand the foregoing terms and agree to them.

 

 

 

 

_ Rolando Daza-Cortez Dated:
PAYOR: —£- ferinche
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Case 2:18-cVv-01608-RAJ..Document 11 Filed 08/05/19 Page 44 of 47 E£ X = 5 -

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~ Ca LICENSING™ Temporary Vehicle Registration - a

 

 

 

 

 

 

 

 

 

 

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Medel year | Make Series/Body type Vehicle identification Number (VIN) expires, notify the dealer
i 2008 CADI ESC4D 1GYFK63828R208908 first, to discuss the late title
' Seals weight <> Declared GWT transfer, before contacting the
9665 Department of Licensing at
Olympia (360) 664-6475 or
Registered owners Spokane (509) 482-3886

 

 

 

Ist Registered owner name (Last. First, Middle initial)
Reyes, Fiorinda
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4th Registered owner name (Last. First, Middle initial)

 

 

5th Registered owner name (Last. First, Middle initial)

 

Address

1631 Sanarita CT, Madera, CA 93638

 

 

 

 

 

 

Dealer
WA dealer number Dealer name
7716 Sky's Auto Sales

 

 

Anyone who knowingly makes a false statement may be guilty of a felony under state law and upon conviction shall be punished by a fine,
ireprisonment or both. | certify under penalty of perjury under the laws of the State of Washington that the foregoing is true and correct.

 

 

~ Dele and place _ ee Registered owner signature Position, if signing for a business
Date and place Registered owner signature Position, if signing for a business

This document is not proof of ownership.

This document must be carried in the vehicle until you receive your registration from the Department.
it must be presented to law enforcement upon demand.
Failure to carry this document invalidates the Dealer Temporary Permit.

 

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Case 2:18-cv-01608-RAJ Document 11 Filed 08/05/19 Page 45 of 47

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